         Case 1:11-cv-08466-JPO Document 27 Filed 01/14/13 Page 1 of 1
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SOUTHERN DISTRICT OF NEW YORK
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IN RE AGNICO-EAGLE MINES LTD.                                                  11 CIVIL 7968 (JPO)
SECURITIES LITIGATION
                                                                                   JUDGMENT
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         Defendants having moved to dismiss the complaint, and the matter having come before the

Honorable J. Paul Oetken, United States District Judge, and the Court, on January 14, 2012, having

rendered its Memorandum and Order granting Defendants motion to dismiss the complaint, it is,

         ORDERED, ADJUDGED AND DECREED: That for the reasons stated in the

Court's Memorandum and Order dated January 14, 2012, Defendants' motion to dismiss the

complaint is granted; accordingly, the case is closed.

Dated: New York, New York
       January 14, 2012
                                                                            RUBY J. KRAJICK
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